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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,               No. 2:15-cr-00190-GEB
8                  Plaintiff,
9           v.                               ORDER
10   JOHN MICHAEL DICHIARA, et. al.,
11                 Defendants.
12

13               Trial is scheduled to commence in this action at 9:00

14   a.m. on September 13, 2017.          The trial commencement date was

15   changed from September 12, 2017, to September 13, 2017, as a

16   result of Defendant John DiChiara’s attorney’s September 11, 2017

17   filing in which he states in pertinent part:

18               DiChiara was seen at the UC Davis Emergency
                 Department for symptoms of a possible stroke.
19               Counsel for Mr. DiChiara has spoken to Paige
                 Dersteeg, Emergency Room Charge Nurse, who
20               has confirmed Mr. DiChiara will be admitted
                 to the hospital.   I subsequently spoke with
21               Barbara Alkema RN, who is attending to Mr.
                 DiChiara.   She confirmed that Mr. DiChiara
22               had a stroke and will be admitted to the
                 neurology floor for further care.
23
                      Counsel for Mr. DiChiara alerted counsel
24               for the government and the courtroom deputy
                 of the emer[g]ency room visit via email at
25               12:38 p.m. and have been keeping the court
                 and government apprise[d] as updates are
26               available.
27   Notice of Hospitalization of Def. John DiChiara 1:21–2:1, ECF No.

28   250.
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1              Without    providing    the   Court   with   more   information,

2    DiChiara filed a conclusory motion on September 11, 2017, stating

3    in essence the following:

4              [DiChiara]  moves to continue the trial
               currently set to commence September 12, 2017.
5              The   basis  for  the   continuance   is  Mr.
               DiChiara’s recent hospitalization with a
6              stroke and his unavailability for trial and
               his unavailability to assist counsel in his
7              defense.
8              . . . .
9                   Based on the above, it is requested that
               this court vacate the trial date as to Mr.
10             DiChiara and the matter for either a new
               trial date of preferably a status conference
11             in 30 days to assess Mr. DiChiara’s medical
               condition and availability to assist counsel
12             and for trial.
13   Def.’s Req. to Continue Trial 1:21–2:2, ECF No. 253.

14             This request does not explain whether DiChiara will be

15   able to attend the trial now scheduled to commence on September

16   13, 2017, nor whether there is a valid medical basis for him not

17   being present during the trial.

18             A Minute Order issued on September 11, 2017 concerning

19   the previous September 12, 2017 trial commencement date, in part,

20   since numerous potential jurors were about to be told to report
21   for jury service, and it was unclear whether trial would proceed

22   on September 12, 2017 as it was then scheduled.                   The United

23   States responded to the Minute Order asking the Court for a one

24   day continuance of the trial “for the purpose of allowing the

25   Court and the parties to obtain [information regarding DiChiara’s

26   availability for trial] from counsel for Mr. DiChiara.”              Gov’t’s
27   Resp. to Min. Order 1:23-24, ECF No. 252.         The United States also

28   stated: “Thereafter, the Court and the parties can determine the
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1    appropriate course of action, possibly to include the severance

2    of Mr. DiChiara.” Id. at 1:24-25.

3              The Judge must know what the parties intend to do as

4    soon as possible, and whether DiChiara has a valid reason for not

5    confirming that he will attend trial as now scheduled.            Potential

6    jurors have been summoned to appear at the trial, and the Jury

7    Administrator will confirm potential jurors’ attendance at the

8    trial commencement proceeding later today.            Responses to this

9    order shall be filed as soon as possible and no later than 1:00

10   p.m. today.

11   Dated:   September 12, 2017

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